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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 MELVIN BURTON                                                           CIVIL ACTION
 VERSUS                                                                  NO. 21-0239
 JEFF LANDRY, WARDEN                                                     SECTION: A L@ (5)

                                          OR D ER

       The Court, having considered the petition, the record, the applicable law, the Report and

Recommendation of the United States Magistrate Judge, and the failure of any party to file an

objection to the Magistrate Judge=s Report and Recommendation, hereby approves the Report and

Recommendation of the United States Magistrate Judge and adopts it as its opinion in this matter.

Accordingly,

       IT IS ORDERED that the petition of Melvin Burton for issuance of a writ of habeas corpus

under 28 U.S.C. ' 2254, is hereby DISMISSED WITH PREJUDICE as untimely.

       New Orleans, Louisiana, this 8th day of June, 2021.




                                                       ELDON E. FALLON
                                                 UNITED STATES DISTRICT JUDGE
